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                                                    Judge Virginia M. Kendall
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   Plaintif(s):

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   B.     Listall   aliasos:

   C.     hisoner identifi cation number :        eofi l^N sLqZ
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   B.      Defendant:




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